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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                           Plaintiffs,                                            8:14CR144

        vs.
                                                                                   ORDER
NICOLE M. WITBECK,

                           Defendant.


This matter is before the court on defendant's MOTION FOR ORDER EXTENDING TIME TO FILE
PRETRIAL MOTIONS [22]. For good cause shown, I find that the motion should be granted. The defendant
will be given an approximate 21-day extension. Pretrial Motions shall be filed by July 10, 2014.


         IT IS ORDERED:


         1.       Defendant's MOTION FOR ORDER EXTENDING TIME TO FILE PRETRIAL MOTIONS
[22] is granted. Pretrial motions shall be filed on or before July 10, 2014.


         2.       The defendant is ordered to file the affidavit required by NECrimR 12.1(a) regarding speedy
trial as soon as practicable.


         3.       The ends of justice have been served by granting such motion and outweigh the interests of
the public and the defendant in a speedy trial. The additional time arising as a result of the granting of the
motion, i.e., the time between June 19, 2014 and July 10, 2014, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel required
additional time to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




         Dated this 19th day of June, 2014.

                                                             BY THE COURT:

                                                             s/ F.A. Gossett, III
                                                             United States Magistrate Judge
